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               Exhibit 19ZZD
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 Case 2:10-md-02179-CJB-DPC Document 8963-83 Filed 03/20/13 Page 3 of 3


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From: Adele123m@aol.com
To: AppealsCoordinator@dhecc.com
CC: DDuval@dheclaims.com
Sent: 2/11/2013 3:54:10 P.M. Central Standard Time
Subj:


   Dear Mr. Duval,

   Please accept the attached supplemental statement in support of
   Motion to Dismiss, based on BP's reaffirmance and the Court's posting of a
   Policy Decision that only the express terms of the Settlement Agreement and
   the formuale contained therein are to be utilized in determing a BEL Claim.

   Thank you,

   Mary Beth Mantiply
   Attorney at Law
   P.O. Box 862
   Mobile, AL 36559
   251.625.4040
